                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE

GERDA ZINNER, STORY VANNESS                    )
and AEMILIA HAMEL,                             )
                                               )
       Plaintiffs,                             )
                                               )
v.                                             )         Civil Action No. 3:23-cv-535
                                               )
STATE OF TENNESSEE, et al.,                    )         Judge Aleta A. Trauger
                                               )
       Defendants.                             )

                               STATEMENT OF INTEREST
                          OF THE UNITED STATES OF AMERICA

       The United States respectfully submits this Statement of Interest pursuant to 28 U.S.C.

§ 517, which authorizes the Attorney General “to attend to the interests of the United States in a

suit pending in a court of the United States . . . .” The United States has a strong interest in

eradicating employment discrimination, which includes ensuring the correct interpretation and

application of Title VII of the Civil Rights Act of 1964 (as amended), 42 U.S.C. § 2000e et seq.,

with respect to claims alleging discrimination because of an individual’s sex. Moreover, the

Attorney General is charged with enforcing Title VII where the employer is a state or local

“government, governmental agency, or political subdivision.” § 2000e-5(f)(1). Accordingly, the

United States has a strong interest in the matter pending before the Court.

       The United States submits this Statement of Interest to address the application of Title

VII’s prohibition on sex discrimination to employer-based health insurance programs that




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contain exclusions that limit gender-affirming care for transgender persons. 1 The United States

expresses no view on any factual dispute before the Court, nor on any legal question presented

other than the aforementioned issue.

                                 STATEMENT OF THE CASE

       Plaintiff Gerda Zinner is an Academic Advisor at the University of Tennessee at

Chattanooga, where she has worked since September 2019. Am. Compl. ¶ 2, ECF No. 89.

Plaintiff Story VanNess is a special education teacher at Knox County Board of Education,

where she has worked from September 2023 to the present and previously from July 2016 to July

2022. Id. ¶ 3. Plaintiff Aemilia Hamel is an environmental scientist in the State of Tennessee's

Department of Environment and Conservation, where she has worked since October 2018. Id.

¶ 4. All three women are transgender. Id. ¶ 53. Tennessee’s health insurance program for state

and local education agency employees has a blanket exclusion for “surgery or treatment for, or

related to, sex transformations,” irrespective of whether that treatment qualifies as medically-

necessary treatment for gender dysphoria. Id. ¶¶ 9, 12, 13 (alterations omitted). Gender

dysphoria is the clinically significant distress that can result from the dissonance between a

transgender employee’s gender identity and sex assigned at birth. Id. ¶ 6.

       Ms. Zinner received from her medical providers, including her doctor and two therapists,

a determination that a vaginoplasty and hormone replacement therapy were medically-necessary



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        Different courts have used terms such as “gender reassignment,” “gender confirmation,”
or “gender-affirming” to refer to this health care. Because the Amended Complaint refers to the
treatment and care sought by Plaintiffs as gender-affirming, the United States uses the term
“gender-affirming care” here. See Am. Compl. ¶¶ 13, 57–64, ECF No. 89.

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treatment for her gender dysphoria. Id. ¶¶ 69, 73. Similarly, Ms. VanNess received from her

medical providers, including her doctor, therapist, and two surgeons, a determination that

hormone replacement therapy, facial gender-affirming surgery, and breast augmentation were

medically-necessary treatment for her gender dysphoria. Id. ¶¶ 101, 111. Likewise, Ms. Hamel's

medical providers, including her primary care physician and two surgeons, recommended

hormone replacement therapy and bilateral breast augmentation as medically-necessary

treatment for her gender dysphoria. Id. ¶¶ 130, 136, 139. But as a result of Tennessee’s

exclusion, neither Ms. Zinner, Ms. VanNess, nor Ms. Hamel were able to receive insurance

coverage for the gender-affirming treatments that their medical providers have and continue to

recommend. Id. ¶¶ 85, 87–89, 91-93, 112-115, 118, 123-124, 137-141 (alleging that the

exclusion was the sole basis for the insurance coverage denials). Breast augmentation,

vaginoplasty, and estradiol are otherwise covered by Tennessee’s health insurance program. Id.

¶ 175.

         Ms. Zinner, Ms. VanNess, and Ms. Hamel sued the State of Tennessee, the State

Insurance Committee and its members, the Local Education Insurance Committee and its

members, the Department of Finance and Administration and its Commissioner, the University

of Tennessee and its President, the Tennessee Department of Environment and Conservation, and

the Knox County Board of Education. In Count II of their Amended Complaint, Ms. Zinner, Ms.

VanNess, and Ms. Hamel assert a sex discrimination claim based on transgender status under

Title VII. They allege, among other things, that Defendants subjected them to disparate treatment

in their compensation because of sex. Id. ¶ 205. Defendants assert that the health insurance


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program is not discriminatory because the exclusion applies to all program participants

regardless of sex and that Plaintiffs fail to sufficiently allege discriminatory intent. Defs.’ Mem.

Supp. Mot. Dismiss 12, ECF No. 93.

                                           ARGUMENT

       When employers exclude health insurance coverage for medical treatment only when it is

needed to provide gender-affirming care to individuals whose gender identity does not conform

with the sex they were assigned at birth, they facially discriminate based on transgender status,

which inherently discriminates based on sex under Title VII. First, such exclusions discriminate

based on sex by making coverage contingent on whether the care seeks to align an employee’s

sex characteristics with their gender identity when it is inconsistent with their sex assigned at

birth. Second, denying health insurance coverage because a medical treatment seeks that

alignment makes the employee’s sex a “but-for” cause of the coverage denial. This Court should

therefore join every other district court that has addressed challenges to analogous health

insurance exclusions on the merits under Title VII and hold that Plaintiffs sufficiently state a

claim under Title VII. Kadel v. Folwell, 620 F. Supp. 3d 339, 386–87 (M.D.N.C. 2022); Lange v.

Houston Cnty., 608 F. Supp. 3d 1340, 1356–60 (M.D. Ga. 2022), appeal docketed, No. 22-13626

(11th Cir. Oct. 21, 2022); Fletcher v. Alaska, 443 F. Supp. 3d 1024, 1029–31 (D. Alaska 2020);

Boyden v. Conlin, 341 F. Supp. 3d 979, 995–97 (W.D. Wis. 2018).

       Title VII bars an employer from “discriminat[ing] against any individual with respect to

his compensation, terms, conditions, or privileges of employment, because of such

individual’s . . . sex.” 42 U.S.C. 2000e-2(a)(1). In Bostock v. Clayton County, the Supreme Court


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explained that discrimination includes “mak[ing] a difference in treatment or favor (of one

compared with others).” 140 S. Ct. 1731, 1740 (2020) (internal quotation marks omitted)

(quoting Webster’s New International Dictionary 745 (2d ed. 1954)). The phrase “because of”

means, at a minimum, that when the employee’s sex is a “but-for” cause of difference in

treatment, it is “because of” sex. Id. at 1739. Health insurance benefits are “compensation, terms,

conditions, or privileges of employment” under Title VII. Newport News Shipbuilding & Dry

Dock Co. v. EEOC, 462 U.S. 669, 682 (1983) (quoting 42 U.S.C. § 2000e-2(a)(1)). And there is

“no reason to believe that Congress intended a special definition of discrimination in the context

of employee group insurance coverage.” City of L.A., Dep’t of Water & Power v. Manhart, 435

U.S. 702, 710 (1978).

       Therefore, because the exclusion facially discriminates based on transgender status, Ms.

Zinner, Ms. VanNess, and Ms. Hamel, sufficiently state a claim for sex discrimination under

Title VII. Moreover, when there is a facially discriminatory employment policy, employees do

not need to plead discriminatory intent—contrary to what Defendants contend. See Nguyen v.

City of Cleveland, 229 F.3d 559, 563 (6th Cir. 2000) (“[A] facially discriminatory employment

policy . . . is direct evidence of discriminatory intent.” (citing Trans World Airlines, Inc. v.

Thurston, 469 U.S. 111, 121 (1985) and LaPointe v. United Autoworkers Local 600, 8 F.3d 376,

379–80 (6th Cir. 1993)).




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      I.      Gender-Affirming Care Exclusions Discriminate Based on Sex by Making
              Insurance Coverage Contingent on Whether the Care Seeks to Align an
              Employee’s Sex Characteristics with Their Gender Identity.
           Where an employer denies health insurance coverage for medical treatment solely when

the treatment is needed to align an employee’s sex characteristics with their gender identity when

it is inconsistent with their sex assigned at birth—even though the same treatment would be

covered if provided for a different medically-necessary purpose—that constitutes facial

discrimination against transgender individuals. In such a situation, the health insurance program

conditions coverage on whether a procedure is provided to alter an individual’s sex

characteristics to match their gender identity and not their sex assigned at birth. In doing so, the

program “unavoidably discriminates against persons with one sex identified at birth and another

today.” Bostock, 140 S. Ct. at 1746.

           The challenged exclusion under Tennessee’s health insurance program bars coverage for

otherwise-eligible medical treatments only when—and precisely because—they are provided to

treat a medical diagnosis that is unique to transgender employees. The program thus treats

employees differently based on their transgender status, which inherently constitutes

discrimination based on sex under Title VII. As the Supreme Court has recognized, “it is

impossible to discriminate against a person for being . . . transgender without discriminating

against the individual based on sex.” Bostock, 140 S. Ct. at 1741. In a case consolidated with

Bostock, the Sixth Circuit likewise concluded that “[d]iscrimination on the basis of transgender

and transitioning status is necessarily discrimination on the basis of sex.” EEOC v. R.G. & G.R.

Harris Funeral Homes, Inc., 884 F.3d 560, 571 (6th Cir. 2018), aff’d, Bostock, 140 S. Ct. 1731



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(2020). By discriminating against transgender employees, health insurance programs that

exclude gender-affirming care “unavoidably discriminate[ ] against persons with one sex

identified at birth” but who identify with a different sex “today.” Bostock, 140 S. Ct. at 1746. As

such, discrimination based on transgender status inherently constitutes discrimination based on

sex.

       Tennessee’s program is not saved by the fact that it purports to deny health insurance

benefits based on an employee’s medical diagnosis rather than based on an employee’s sex.

Instead, the exclusion here amounts to facial discrimination by proxy against transgender

employees, where the proxy is a medical diagnosis that does not apply to non-transgender

employees. Cf. Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263, 270 (1993) (“A tax on

wearing yarmulkes is a tax on Jews.”); see also Hecox v. Little, Nos. 20-35813, 20-35815, 2023

WL 5283127, at *26 (9th Cir. Aug. 17, 2023) (Christen, J., concurring in part and dissenting in

part) (citation omitted) (observing in a case alleging transgender discrimination that “[p]roxy

discrimination is a form of facial discrimination”). Indeed, Defendants admit that they denied

Plaintiffs’ medical treatments at issue in this case because of “the purpose of the procedure—sex

transformation.” Defs.’ Mem. Supp. Mot. Dismiss Am. Compl. 3, ECF No. 93 (emphasis in

original). The “explicit terms” of such a health insurance program, therefore, are “not neutral,”

Aerospace & Agr. Implement Workers of Am. v. Johnson Controls, Inc., 499 U.S. 187, 199

(1991), as they expressly restrict, on the basis of sex, the benefits afforded to transgender

employees for medically-necessary care.




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       Defendants correctly point out that an employer has discretion to decide which health

insurance benefits it offers to enrollees. But once an employer decides to provide certain

benefits, it may not distribute them in a discriminatory way. See Hishon v. King & Spalding, 467

U.S. 69, 75 (1984) (“A benefit that is part and parcel of the employment relationship may not be

doled out in a discriminatory fashion, even if the employer would be free . . . simply not to

provide the benefit at all.”). As a result, denying health insurance coverage for medical treatment

solely when the treatment is gender-affirming, but covering the very same treatment for any

other purpose, is not simply an “underinclusive[ ] set of risks that the State has elected to insure,”

which is what Defendants assert here. Defs.’ Mem. Supp. Mot. Dismiss Am. Compl. 14, ECF

No. 93 (citing Geduldig v. Aiello, 417 U.S. 484, 494 (1974)). Selectively denying health

insurance benefits that are otherwise available to non-transgender employees discriminates

against transgender employees based on sex “with respect to [their] compensation, terms,

conditions, or privileges of employment.” 42 U.S.C. 2000e-2(a)(1).

     II.   When an Employer Denies Health Insurance Coverage Because a Medical
           Treatment Seeks to Align an Employee’s Sex Characteristics with Their Gender
           Identity, the Employee’s Sex is a “But-For” Cause of the Coverage Denial.
       Moreover, Plaintiffs satisfy Title VII’s causation standard because the exclusion

constitutes discrimination “because of” sex. Bostock stated that “Title VII's ‘because of’ test

incorporates the ‘simple’ and ‘traditional’ standard of but-for causation.” Bostock, 140 S. Ct. at

1739 (quoting Univ. of Tex. Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 346 (2013)). As Bostock

explained, this means that “if changing the employee’s sex would have yielded a different”




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outcome for that individual employee, then the employer discriminated on the basis of sex. Id. at

1741.

        To apply that logic here, if a transgender female employee (who was assigned male at

birth) seeks insurance coverage of a medically-necessary vaginoplasty as treatment for her

gender dysphoria, then Tennessee’s exclusion of coverage for gender-affirming care will forbid

insurance coverage for it. But change the employee’s birth-assigned sex to female, and, under the

facts alleged in the complaint, the same health insurance program will cover her access to a

vaginoplasty for any other medically-necessary reason, such as to repair an injury or to treat a

disease. Thus, Defendants’ assertion that the exclusion at issue “complies” with Bostock because

changing the employee’s birth-assigned sex would not yield a different outcome is misplaced.

Defs.’ Mem. Supp. Mot. Dismiss Am. Compl. 12-13, ECF No. 93. Changing the employee’s

birth-assigned sex does change the outcome, despite the treatment (in this example, a

vaginoplasty) remaining identical. Such health insurance programs therefore discriminate

“because of” sex.

        Other courts have held similarly. For instance, the State of North Carolina’s health

insurance program excluded coverage for treatments related to “sex changes or modifications.”

Kadel, 620 F. Supp. 3d at 354. Kadel highlighted that if the plaintiff were a non-transgender

woman who sought hormone treatments, breast augmentation, vaginal repair, and vaginal

construction surgery, the health insurance program would have covered those treatments. Id. at

387. But because her sex assigned at birth was male, coverage was not provided. Id. The court

thus concluded “a straightforward application of the but-for test” determined that the plaintiff’s


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“birth-assigned sex was a but-for cause of her injury.” Id.; see also Lange, 608 F. Supp. 3d at

1357–59 (holding that the insurance program at issue covering mastectomies for cancer

treatment and hormone replacement therapy for menopause, but not for gender-affirming care,

amounts to a violation of Title VII under Bostock); Fletcher, 443 F. Supp. 3d at 1030 (holding

that because the insurance program at issue covered vaginoplasty for congenital defects, but not

for gender-affirming care, it constituted a discriminatory policy); Boyden, 341 F. Supp. 3d at 995

(describing an exclusion that “denies coverage for medically-necessary surgical procedures

based on a patient’s natal sex” as a “straightforward case of sex discrimination” (citing Flack v.

Wis. Dep’t of Health Servs., 328 F. Supp. 3d 931, 948 (W.D. Wis. 2018))). Under the reasoning

of these cases, excluding coverage for a medical treatment only when it is provided to treat

gender dysphoria represents a “straightforward case of discrimination.” Boyden, 341 F. Supp. 3d

at 995 (citation omitted).

       Defendants’ argument that the exclusion applies to everyone “regardless of their

biological sex” thus fails. Defs.’ Mem. Supp. Mot. Dismiss Am. Compl. 12, ECF No. 93. As

Kadel, Lange, Fletcher, and Boyden all show, coverage for certain medical procedures under

Defendants’ health insurance program cannot be determined without knowing the employee’s

sex “identified at birth” and comparing it with their gender identity “today.” Bostock, 140 S. Ct.

at 1746. If their sex assigned at birth and gender identity align, the program provides coverage.




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But if their sex assigned at birth and gender identity differ, the program excludes coverage.

Tennessee’s health insurance program therefore discriminates “because of” sex. 2

       Considering Lange in more detail is instructive because the employer defended a health

insurance coverage exclusion for gender-affirming surgery by making an identical argument to

Defendants here: that the exclusion applies to everyone regardless of their sex. 608 F. Supp. 3d

at 1358. Lange highlighted that under Bostock, it is not a “defense for an employer to say it

discriminates against both men and women because of sex.” Id. (quoting Bostock, 140 S. Ct. at

1741). That defense is unavailable because Title VII “works to protect individuals of both sexes

from discrimination, and does so equally.” Id. (quoting Bostock, 140 S. Ct. at 1741); see also

Bostock, 140 S. Ct. at 1741 (holding that Title VII protects both sexes even if an employer

“treat[s] men and women as groups more or less equally”). Discriminating against both groups,

then, does not “avoid[ ] Title VII exposure.” Lange, 608 F. Supp. 3d at 1358 (quoting Bostock,

140 S. Ct. at 1741). Thus, even if exclusion of gender-affirming care applies to both transgender

men and transgender women, the exclusion still does not avoid Title VII liability—it simply




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          Other courts have reached similar conclusions under Section 1557 of the Affordable
Care Act (“ACA”), which bars sex discrimination in health programs and activities receiving
federal financial assistance, 42 U.S.C. 18116(a), and under the Equal Protection Clause of the
Fourteenth Amendment. See Hammons v. Univ. of Md. Med. Sys. Corp., No. 20-cv-2088, 2023
WL 121741, at *10 (D. Md. Jan. 6, 2023) (ACA claim); C.P. v. Blue Cross Blue Shield of Ill.,
No. 20-cv-6145, 2022 WL 17788148, at *6 (W.D. Wash. Dec. 19, 2022) (same); Fain v. Crouch,
618 F. Supp. 3d 313, 327 (S.D. W. Va. 2022) (equal protection claim), appeal pending, No. 22-
1927 (4th Cir. filed Sept. 6, 2022); Flack, 328 F. Supp. 3d at 951–53 (ACA and equal protection
claims).

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“doubles it” instead. Id. Similarly, the exclusion violates Title VII even if both transgender and

non-transgender employees are denied coverage for gender-affirming care. 3

                                          CONCLUSION

       For the reasons set forth above, Ms. Zinner, Ms. VanNess, and Ms. Hamel sufficiently

allege that Tennessee’s health insurance program facially discriminates based on sex. Thus, the

Court should hold that Plaintiffs sufficiently state a claim under Title VII.




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          Defendants’ reliance on Olivarez v. T-Mobile also misses the mark. In Olivarez, the
court was persuaded that “ordinary business practice,” not unlawful discrimination based on
gender identity, led to a transgender employee’s termination after the employee took six months
of leave and then sought further leave for “the indefinite future.” 997 F.3d 595, 98 (5th Cir.
2021), cert. denied, 142 S. Ct. 713 (2021). No facts about Plaintiffs’ use of leave—or any facts
related to Plaintiffs’ job performance—are alleged here. Put differently, unlike the employer in
Olivarez, Defendants here do not rely on the Plaintiffs’ job performance as the basis for their
adverse employment actions.
        Defendants do not rely on L. W. by & through Williams v. Skrmetti, 83 F.4th 460 (6th Cir.
2023), to challenge the merits of Plaintiffs’ Title VII claims. Nor could they— Skrmetti only
addressed claims under the Due Process and Equal Protection Clauses of the Fourteenth
Amendment, not Title VII. Id. at 469. Skrmetti did recognize, however, that Title VII protects
transgender status. Id. at 484.

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                                               Respectfully submitted,

Date: January 10, 2024

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